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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                WILMINGTON DIVISON

 IN RE:

 THOMAS DEAN WHITEMAN                                CASE NO.: 14-01748-5-SWH
 LINDA ANN WHITEMAN                                  CHAPTER 13

        DEBTORS

                        NOTICE OF FINAL CURE PAYMENT AND
                      COMPLETION OF PAYMENTS UNDER THE PLAN

 Pursuant to Fed. Bankr. Rule 3002.1(f), the Trustee files Notice that the amount required to cure
 the default in the above claim has been paid in full and that the Debtors have completed all
 payments under the plan.

 Creditor Name and Address: CitiMortgage, Inc.
                            Attn: Bank Officer/Managing Agent
                            P.O. Box 688971
                            Des Moines, IA 50368-8971



 Last four digits of any number used to identify the debtor’s account: 8958

    1. The debtors having made all payments necessary to complete the plan, the Trustee reports
       that the mortgage account is contractually current through April, 2019, with the next
       payment due May 1, 2019. The total amount due on this mortgage as of May, 2019 is
       calculated to be $204,836.73.

    2. In addition to the contractual post-petition mortgage payments, CitiMortgage, Inc. was
       also allowed a pre-petition arrearage claim in the amount of $8,144.48. This claim has
       been paid in full.

    3. On or before May 24, 2019 the creditor must file and serve a statement on the debtors,
       debtor’s counsel and the trustee, pursuant to Fed. Bankr. Rule 3002.1(g), indicating
       whether it agrees that the debtor has paid in full the amount required to cure the default
       and whether, consistent with §1322(b)(5), the debtor is otherwise current on all payments
       or be subject to further action of the court including possible sanctions.

   THE DEBTORS ARE DIRECTED TO STOP PAYMENTS TO THE CHAPTER 13 TRUSTEE
   AND TO BEGIN PAYING MORTGAGE PAYMENTS AS OF MAY 1, 2019 IN THE AMOUNT
   OF $1,354.79 TO THE CREDITOR AT THE ABOVE ADDRESS.

        April 30, 2019                               s/Joseph A. Bledsoe, III
                                                     JOSEPH A. BLEDSOE, III
                                                     Chapter 13 Trustee
                                                     PO Box 1618
                                                     New Bern, NC 28563
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                                      CERTIFICATE OF SERVICE


        I, Joseph A. Bledsoe, III Trustee, of P.O. Box 1618, New Bern, NC, 28563, do certify:

        That I am and was at all times hereinafter referred to more than eighteen (18) years of
 age; and

        That I have this day served a copy of the Notice of Final Cure Payment and Completion
 of Payments Under the Plan by depositing a copy of the same in a postage-paid envelope with
 the United States Postal Service or by electronic means, as indicated.


 DEBTOR:        Thomas D. Whiteman                   (via first-class mail)
                Linda A. Whiteman
                352 Hampton Road
                Wilmington, NC 28409


 ATTORNEY: Christopher T. Vonderau                   (via cm/ecf)
           Attorney at Law

 CREDITOR: CitiMortgage, Inc.                (via certified mail, return receipt requested)
           Attn: Bank Officer/Managing Agent
           P.O. Box 688971
           Des Moines, IA 50368-8971

                CitiMortgage, Inc.                (via certified mail, return receipt requested)
                Attn: Bank Officer/Managing Agent
                P.O. Box 6030
                Sioux Falls, SD 57117-6030



 DATED: April 30, 2019
                                                     s/Joseph A. Bledsoe, III
                                                     JOSEPH A. BLEDSOE, III
                                                     Chapter 13 Trustee
                                                     PO Box 1618
                                                     New Bern, NC 28563
